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 7

 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                     OAKLAND DIVISION
11

12   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                                 DEFENDANTS’ OPPOSITION TO
                                                  PLAINTIFFS’ MOTION FOR PARTIAL
14               Plaintiffs,                      SUMMARY JUDGMENT
15         v.                                     [Filed concurrently with Declarations of
                                                  Terrence McGraw, Tamir Gazneli, Joseph N.
16   NSO GROUP TECHNOLOGIES LIMITED               Akrotirianakis, Col. Ty M. Shepard, and John
     and Q CYBER TECHNOLOGIES LIMITED,            Town and their attached exhibits]
17
                     Defendants.                  Date: November 7, 2024
18                                                Time: 1:30 p.m.
                                                  Place: Courtroom 3, Ronald V. Dellums
19                                                       Federal Building & U.S. Courthouse,
                                                         1301 Clay Street, Oakland, California
20

21                                                Action Filed: 10/29/2019
22

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       MOTION FOR SUMMARY JUDGMENT
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 1                                           INTRODUCTION
 2          Plaintiffs provide WhatsApp, an encrypted messaging service that terrorists, human
 3   traffickers, and other criminals use to plan and commit serious crimes. Plaintiffs know this, but
 4   they purposely collect no information about who their users are and trumpet that they have no
 5   ability to review the messages or calls of the criminals to whom they provide powerful encryption
 6   technology, free of charge. As a result, governments that wish to stop crime and terrorism must
 7   use surveillance technology like Pegasus, a product NSO created and licenses exclusively to
 8   governments. Pegasus provides those governments—and only governments, never NSO—access
 9   to criminals’ mobile devices to obtain evidence that services like WhatsApp would otherwise hide.
10          During the period relevant here, Pegasus functioned in part by sending WhatsApp messages
11   to the mobile phones of targets of government investigations. When the target device processed
12   the messages, the processing would cause the target device to download surveillance software from
13   the government’s servers. The government would then use the software to collect evidence from
14   the target’s device. Plaintiffs admit
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17                                                                     .
18          Yet Plaintiffs, who have never sued anyone who used WhatsApp to promote terrorism, plan
19   mass shootings, or exploit children for sex, has sued NSO for designing Pegasus and licensing it to
20   governments who wish to stop those crimes. Cutting through Plaintiffs’ obfuscation and technical
21   jargon, the gist of their complaint is simple: Pegasus sent messages over WhatsApp that Plaintiffs
22   did not want sent. Plaintiffs claim this harmless conflict with their subjective desires breached
23   WhatsApp’s Terms of Service (“TOS”) and violated the Computer Fraud and Abuse Act (“CFAA”)
24   and California Comprehensive Computer Data Access and Fraud Act (“CDAFA”).
25          Those claims are bunk, both legally and factually. And the thread holding them together is
26   Plaintiffs’ mischaracterization of how Pegasus worked. In Plaintiffs’ telling, NSO created a phony
27   WhatsApp program that sent phony WhatsApp messages disguised as real ones, messages that
28   WhatsApp’s servers would have rejected had they not been disguised. That is pure fantasy. The


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 1                                               ARGUMENT
 2   I.       The Court lacks personal jurisdiction over NSO.
 3            The Court should deny Plaintiffs’ motion because, as explained in NSO’s motion, Plaintiffs
 4   cannot prove NSO purposefully directed any case-related conduct at California or the United States.
 5   (Dkt. 396-2 at 8-18.) This Court thus “lacks personal jurisdiction” over NSO and cannot “enter[]
 6   a final judgment against [it].” Wages v. IRS, 915 F.2d 1230, 1234 n.5 (9th Cir. 1990).
 7   II.      Plaintiffs are not entitled to summary judgment on their breach of contract claim.
 8            Plaintiffs cannot prove as a matter of law what they identify as the elements of their breach
 9   claim. (Dkt. 399-2 (“MSJ”) at 5.4) A reasonable jury could find that (1) NSO never agreed to the
10   WhatsApp TOS, (2) NSO did not breach the TOS, (3) Plaintiffs waived the contractual provisions
11   they seek to enforce, and (4) any breach did not cause damage to Plaintiffs.
12            A.      Plaintiffs do not prove NSO agreed to the WhatsApp TOS.
13            Plaintiffs’ evidence is not sufficient to prove NSO agreed to the WhatsApp TOS. They rely
14   on a bare assertion “that agreeing to the Terms is necessary to create a WhatsApp account.” (MSJ
15   6.) “[T]he act of setting up an account,” however, “is insufficient evidence that [a user] manifested
16   assent to the terms of use.” Marshall v. Hipcamp Inc., 2024 WL 2325197, at *5 (W.D. Wash. May
17   22, 2024). Rather, to prove consent to a company’s TOS, the company must prove “a consumer
18   has actual knowledge” or “inquiry notice” of the contract’s terms. Berman v. Freedom Fin.
19   Network, LLC, 30 F.4th 849, 856 (9th Cir. 2022). Plaintiffs do not claim, and submit no evidence,
20   that NSO had actual knowledge of the WhatsApp TOS. So they must rely on inquiry notice, which
21   requires them to prove that “(1) [they] provide[d] reasonably conspicuous notice of the terms to
22   which the consumer will be bound; and (2) the consumer t[ook] some action, such as clicking a
23   button or checking a box, that unambiguously manifest[ed] his or her assent to those terms.” Id.
24            Plaintiffs do not submit sufficient evidence on either requirement for inquiry notice. The
25   “inquiry notice standard demands conspicuousness tailored to the ordinary user, not to the expert
26   user,” and determining whether notice is conspicuous requires a fact-specific, detail-oriented
27   assessment how contractual terms are presented to a consumer. Id. at 856-57. Any notice “must
28
     4
         MSJ and evidentiary citations omit internal quotation marks and alterations and add emphasis.
                                                        3
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 1   be displayed in a font size and format such that the court can fairly assume that a reasonably prudent
 2   Internet user would have seen it,” which requires a factfinder to analyze the font, size, and color of
 3   a disclosure, as well as how the disclosure compares to the surrounding text and the overall design
 4   of a webpage. Id. A factfinder must also consider whether the terms are disclosed in a pop-up
 5   window or indirectly through a hyperlink, and whether the hyperlink is made “readily apparent”
 6   through “design elements” such as “the use of a contrasting font color (typically blue) and the use
 7   of all capital letters.” Id. But even a “conspicuous hyperlink” in “close proximity … to relevant
 8   buttons” is insufficient when other design elements suggest a lack of conspicuousness. Nguyen v.
 9   Barnes & Noble Inc., 763 F.3d 1171, 1177-79 (9th Cir. 2014). Courts do not hesitate to find
10   disclosures inadequate when they fail these requirements.5
11           Plaintiffs submit no evidence from which a factfinder could determine that they provided
12   “reasonably conspicuous notice” of the WhatsApp TOS. Berman, 30 F.4th at 856. Plaintiffs do
13   not submit any images of the WhatsApp sign-up process at any time, let alone from 2018-2019.
14   They provide no evidence of whether or how a user is informed that creating a WhatsApp account
15   constitutes consent to the TOS; of the font, size, or color of any notice; of how any notice is
16   presented within the context of the WhatsApp application or website; or of whether or how the
17   hyperlink to the TOS was highlighted for users. Without such evidence, Plaintiffs cannot prove
18   they adequately disclosed the WhatsApp TOS. Jackson v. Amazon.com, Inc., 65 F.4th 1093, 1099-
19   1100 (9th Cir. 2023) (“Amazon failed to meet its burden to demonstrate mutual assent” when it
20   “did not provide the court with a copy or description of any [contract] notice”).
21           Plaintiffs similarly lack evidence that WhatsApp users “unambiguously manifest[] [their]
22   assent” to the TOS. Berman, 30 F.4th at 856. Plaintiffs’ assertion that users “have to click a button”
23   (MSJ 6) is insufficient. “[M]erely clicking on a button … does not signify a user’s agreement to
24   anything,” so “[t]he presence of an explicit textual notice that continued use will act as a
25   manifestation of the user’s intent to be bound is critical.” Berman, 30 F.4th at 857-58 (cleaned
26   5
      Massel v. SuccessfulMatch.com, 2024 WL 802194, at *5 (N.D. Cal. Feb. 27, 2024); Rocha v. Urban
27   Outfitters, Inc., 2024 WL 393486, at *4-5 (N.D. Cal. Feb. 1, 2024); Sadlock v. Walt Disney Co.,
     2023 WL 4869245, at *9-11 (N.D. Cal. July 31, 2023); Chabolla v. ClassPass Inc., 2023 WL
28   4544598, at *4-7 (N.D. Cal. June 22, 2023); Williams v. DDR Media, LLC, 2023 WL 2314868, at
     *5 (N.D. Cal. Feb. 28, 2023); Sellers v. JustAnswer LLC, 73 Cal. App. 5th 444, 480-82 (2021).
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 1   up).6 The notice must be conspicuous, and it “must explicitly notify a user of the legal significance
 2   of the action she must take to enter into a contractual agreement.” Id. at 858. But Plaintiffs submit
 3   no evidence of the content or presentation of any supposed notice that “click[ing] a button” will
 4   “demonstrate agreement of the [TOS].” (MSJ 6.) Without such evidence, Plaintiffs cannot prove
 5   WhatsApp users unambiguously consent to the TOS. Jackson, 65 F.4th at 1099-1100.
 6           What little evidence Plaintiffs do submit is inadmissible. First, Plaintiffs cannot rely on
 7   Meghan Andre as a declarant because they did not disclose her as a witness under Rule 26. (Akro.
 8   Exh. G.) As a result, they are “not allowed to use” her “to supply evidence on [their] motion.” Fed.
 9   R. Civ. P. 37(c)(1); Chisolm v. 7-Eleven, Inc., 814 F. App’x 194, 196 (9th Cir. 2020); Benjamin v.
10   B&H Educ., Inc., 877 F.3d 1139, 1150 (9th Cir. 2017).7 Next, Plaintiffs cannot rely on the
11   testimony of their own corporate designee, Jonathan Lee, because it was not based on his personal
12   knowledge. Union Pump Co. v. Centrifugal Tech. Inc., 404 F. App’x 899, 907-08 (5th Cir. 2010);
13   Tijerina v. Alaska Airlines, Inc., 2024 WL 270090, at *2-3 (S.D. Cal. Jan. 24, 2024).8 Mr. Lee
14   testified he has no personal knowledge of the sign-up process and was “entirely relying” on
15   “verbal[]” descriptions by two WhatsApp employees. (Block Exh. 2 at 175:2-10, 176:23-177:13,
16   185:14-19.) His testimony about those descriptions, therefore, is hearsay that Plaintiffs may not
17   use for their own motion. Plaintiffs also may not rely on their experts’ reports because they are all
18   unsworn. (Block Exhs. 1, 12, 25, 26, 29); Progressive Sols., Inc. v. Stanley, 2018 WL 1989547, at
19   *8 (N.D. Cal. Mar. 8, 2018); A.C. v. City of Santa Clara, 2015 WL 5350412, at *9 n.4 (N.D. Cal.
20   Sept. 14, 2015). And to the extent Plaintiffs’ witnesses purport to describe the “contents” of the
21   WhatsApp application or website, that testimony violates the Best Evidence Rule. Fed. R. Evid.
22   1002; Sonico v. Charter Commc’ns, LLC, 2021 WL 268637, at *6 (S.D. Cal. Jan. 27, 2021).
23           Even if it were admissible, Plaintiffs’ evidence does not provide any information about how
24   WhatsApp visually notified users of its TOS, much less show that any such notice was conspicuous.
25
     6
       Plaintiffs say a TOS provision provides this notice (MSJ 6), but that is circular. That provision
26   could bind WhatsApp users only if they agreed to the TOS in the first place, so notice must come
27   from outside the TOS. Jackson, 65 F.4th at 1100-01; Berman, 30 F.4th at 857-58.
     7
       The failure to disclose Ms. Andre is anything but harmless; NSO would have taken her deposition
28   to learn what basis, if any, she has for her claims.
     8
       See Fed. R. Civ. P. 32(a)(3) (only “[a]n adverse party” may use corporate designee testimony).
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 1   They simply assert that users agreed to the TOS, which is a bare legal conclusion. Jackson, 65
 2   F.4th at 1099-1100; (see Dkt. 399-5; Block Exh. 8 at 70:16-72:25; Exh. 16 at 326:9-327:9). Mr.
 3   Lee testified he did not even review any evidence and so knows nothing about the appearance of
 4   WhatsApp’s sign-up process. (Block Exh. 2 at 176:23-177:3, 180:22-25.) Moreover, he admitted
 5   that users did not need to click on or read the TOS to sign up. (Id. at 177:15-178:8.)9
 6            In sum, Plaintiffs’ evidence is insufficient to prove it properly notifies consumers that
 7   signing up for WhatsApp constitutes consent to the WhatsApp TOS. Plaintiffs thus cannot receive
 8   summary judgment on whether NSO agreed to the TOS. If anything, NSO is entitled to summary
 9   judgment on that issue. Fed. R. Civ. P. 56(f)(1).
10            B.     There is a material dispute over whether NSO breached the TOS.
11            Plaintiffs also cannot prove as a matter of law that NSO breached the TOS. As an adhesion
12   contract, the TOS must be interpreted against Plaintiffs. Daniel v. Ford Motor Co., 806 F.3d 1217,
13   1225 (9th Cir. 2015). So interpreted, there is a dispute whether the TOS prohibited NSO’s conduct.
14            1. Plaintiffs first claim NSO breached TOS provisions against “reverse-engineering” or
15   “decompiling” the WhatsApp application (in tech-speak, the “WhatsApp client”). (MSJ 8.) But
16   reverse-engineering, as commonly understood, involves commercial competition through
17   “manufacturing a similar product.” Oxford English Dictionary, “Reverse-Engineer.” NSO did not
18   do that. Moreover, Plaintiffs cannot prove NSO
19                                         . Plaintiffs’ corporate designee testified that the WhatsApp
20   client                                                        . (Akro Exh. B at 111:15-113:11.) Then,
21                                                                                                  . (Id. at
22   113:6-114:6; McGraw Exh. B ¶ 51.) If NSO
23                                                              , then Plaintiffs have no basis to argue NSO
24   was bound by any contractual prohibition on such conduct. But Plaintiffs submit no evidence as to
25

26
     9
27    Plaintiffs reference the deposition testimony of NSO employee Ramon Eshkar and third-party
     witness Joshua Shaner, but neither testified they agreed to WhatsApp’s TOS or that signing up for
28   WhatsApp required them to do so. (MSJ 6; Block Exh. 8 at 70:16-72:25; Exh. 16 at 326:9-327:9.)
     Also, Mr. Shaner worked for Westbridge (not NSO) so his testimony cannot prove what NSO did.
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 1          , so they cannot prove as a matter of law that NSO was prohibited from doing so at that time.
 2            Plaintiffs also claim NSO breached TOS provisions prohibiting collecting user data “in any
 3   impermissible or unauthorized manner”; requiring WhatsApp use “only for legal, authorized, and
 4   acceptable purposes”; and prohibiting “illegal” uses. (MSJ 8-11.) But because NSO never operated
 5   Pegasus (Akro. Exh. H ¶ 14), it never took or assisted any of the actions Plaintiffs contend would
 6   violate these provisions. Moreover, the words “impermissible,” “unauthorized,” and “acceptable”
 7   are vague and must be interpreted against Plaintiffs. While Plaintiffs claim
 8

 9                            . (Id. ¶¶ 6-12.) In addition, WhatsApp’s system
10                           , and NSO’s conduct did not violate any law. (Infra 9-23.)
11            Similarly, a jury could find NSO did not send “viruses or other harmful code” through
12   WhatsApp. (MSJ 8-9.) NSO, as distinct from its government customers, never transmitted any
13   code to nonconsenting WhatsApp users. And “harmful code” is a subjective term that does not
14   naturally cover Pegasus. Pegasus is a law-enforcement tool, at heart no different than wiretaps and
15   other lawful intercept tools used by governments throughout history. (Town Exh. A ¶¶ 27-41, 64;
16   McGraw Exh. A ¶¶ 19-26.) Indeed, the United States and other democracies commonly use digital
17   surveillance tools just like Pegasus. (Shepard Exh. A ¶¶ 26-33; Town Exh. A ¶¶ 27, 48-53, 67-68;
18   Akro. Exhs. I-J.) Such tools are not “viruses” and do not “harm[]” computers.
19            2. Even if NSO had breached any TOS provisions, Plaintiffs do not argue they are entitled to
20   summary judgment on NSO’s affirmative defense that Plaintiffs waived those provisions. “The
21   existence of waiver is usually a fact question,” CBS Inc. v. Merrick, 716 F.2d 1292, 1295 (9th Cir.
22   1983), and the facts would support a finding of waiver because there is no evidence Plaintiffs have
23   ever enforced any of the relevant TOS provisions against any WhatsApp user. NSO sought discovery
24   about WhatsApp’s enforcement of those provisions, and Plaintiffs failed to provide a single example
25   of enforcement. (Akro. Decl. ¶ 12 & Exh. K.)10 That failure is particularly conspicuous when the
26   conduct that Plaintiffs claim violates the TOS is so widespread.
27   10
       Plaintiffs have also improperly refused to provide testimony relevant to waiver, which is the
28   subject of a discovery dispute. (Dkt. 381.) The Court should not grant Plaintiffs summary judgment
     on breach of contract without allowing additional discovery on waiver. Fed. R. Civ. P. 56(d).
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 1                                                  . (McGraw Exh. B ¶¶ 51-52; Akro. Exh. B at 108:15-
 2   110:1.) Governments use WhatsApp in ways that would breach the TOS. (Shepard Exh. A ¶¶ 34-
 3   37; McGraw Exh. A ¶¶ 39-40.) Criminals use WhatsApp to commit “impermissible,” “unauthorized,”
 4   and “illegal” acts. (Shepard Exh. A ¶¶ 23-25, 37; Town Exh. A ¶¶ 61-62; McGraw Exh. A ¶ 152.)
 5   Yet Plaintiffs have never enforced the TOS against any of that conduct. A jury could find that non-
 6   enforcement to be “so inconsistent with the intent to enforce the right as to induce a reasonable belief
 7   that it has been relinquished.” In re Cty. of Orange, 219 B.R. 543, 563 (C.D. Cal. Bankr. 1997); see
 8   IJLSF, LLC v. It’s Just Lunch Int’l, 2021 WL 3012850, at *13-14 (Cal. Ct. App. July 16, 2021).11
 9            C.     There is a material dispute over whether any breach damaged Plaintiffs.
10            Finally, a reasonable jury could find that NSO’s alleged breach of the WhatsApp TOS did not
11   damage Plaintiffs. “[A] breach of contract without damage is not actionable.” X Corp. v. Bright Data
12   Ltd., 2024 WL 2113859, at *10 (N.D. Cal. May 9, 2024) (cleaned up). And while “nominal damages
13   may be available in the absence of actual damages, damages are not recoverable which are not
14   causally connected with the breach.” Id. (cleaned up). The necessary causal connection is proximate
15   causation: foreseeable damages that, “in the ordinary course of things, would be likely to result” from
16   a breach. Cal. Civ. Code § 3300; see Ash v. N. Am. Title Co., 223 Cal. App. 4th 1258, 1268 (2014).
17            The only damages Plaintiffs claim NSO caused are “costs” they allegedly incurred in
18   “investigating and remediating” the vulnerability Pegasus used. (MSJ 11.) But even if fixing a
19   vulnerability WhatsApp itself created could qualify as damage—which is dubious—it is not the
20   kind of damage that would ordinarily follow from a breach of the TOS provisions on which
21   Plaintiffs rely. Plaintiffs would not ordinarily suffer any harm from conduct aimed at WhatsApp’s
22   users.12 The only TOS provision Plaintiffs invoke that could plausibly involve harm to Plaintiffs
23   are the prohibitions against reverse-engineering and decompiling the WhatsApp client. But those
24   prohibitions are plainly designed to protect WhatsApp’s trade secrets and intellectual property, so
25
     11
        That WhatsApp’s TOS include a boilerplate “no waiver” clause does not preclude waiver because
26   “[e]ven a waiver clause may be waived.” Bettelheim v. Hagstrom Food Stores, Inc., 113 Cal. App.
27   2d 873, 878 (1952); see 13 Williston on Contracts § 39:36 (4th ed.). Whether such a waiver occurred
     here “is a question of fact to be determined by a jury.” IJLSF, 2021 WL 3012850, at *13.
     12
28      Plaintiffs agreed early in the case they would not claim reputational injury to support any legal
     or equitable relief, in order to avoid producing discovery related to reputation. (Akro Decl. ¶ 17.)
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 1   the foreseeable harms from a breach would be those ordinarily flowing from IP infringement: lost
 2   profits, market dilution, and the like. Plaintiffs claim no such damages.
 3             Instead, Plaintiffs seek to recover costs far removed from any alleged breach. NSO’s
 4   alleged                                                               did not harm Plaintiffs at all.
 5   Plaintiffs claim they were harmed only because NSO
 6                                                                    , then licensed Pegasus to foreign
 7   governments, which then used Pegasus, which then led WhatsApp to discover a preexisting
 8   vulnerability in its system. A jury could find that chain of events too long and unforeseeable to
 9   satisfy proximate causation. Restatement (First) of Contracts § 330 cmt. b; Lews Jorge Const.
10   Mgmt. v. Pomona Unif. Sch. Dist., 34 Cal. 4th 960, 976-77 (2004). Indeed, a reasonable jury could
11   find even but-for causation lacking, since NSO did not create the vulnerability, and Plaintiffs look
12   for and fix vulnerabilities in the ordinary course of their business, found the vulnerability here
13   through a project unrelated to NSO, and would have fixed the vulnerability
14                   (Akro. Exh. B at 200:25-201:10, 302:8-310:21; Exh. C at 44:24-48:21.)
15             Plaintiffs also claim they are entitled to disgorgement (MSJ 11), but this is not a fait
16   accompli. Under the case they cite, disgorgement is proper when the defendant not only “obtained
17   a benefit” but also deprived the plaintiff of “a corresponding benefit.” Artifex Software, Inc. v.
18   Hancom, Inc., 2017 WL 4005508, at *4 (N.D. Cal. Sept. 12, 2017). Plaintiffs were not deprived of
19   any corresponding benefit, and they do not argue otherwise. The disgorgement they seek would also
20   be “grossly disproportionate” and an “unwarranted windfall,” since they do not claim to have suffered
21   any meaningful harm from any breach. Tenderloin Hous. Clinic, Inc., 38 Cal. 4th 23, 50 (2006).
22   III.      Plaintiffs are not entitled to summary judgment on their CFAA claims.
23             As explained in NSO’s motion, NSO is entitled to summary judgment on Plaintiffs’ CFAA
24   claims because Plaintiffs cannot prove NSO accessed any computer “without authorization” or in a
25   way that “exceed[ed] authorized access.” (Dkt. 396-2 at 21-23.) At a minimum, however, a jury
26   could conclude NSO did not violate CFAA, a criminal statute that must be interpreted narrowly
27   “under the rule of lenity.” hiQ Labs, Inc. v. LinkedIn Corp., 31 F.4th 1180, 1200-01 (9th Cir. 2022).
28             A.     NSO did not access “target devices” at all.

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 1            Plaintiffs have no evidence NSO “accessed … target devices.” (MSJ 12.) The undisputed
 2   record proves NSO’s government customers alone operate Pegasus and make all decisions about
 3   how to do so. (Akro Exh. H ¶¶ 14-16; Dkt. 396-2 at 18-19.) Plaintiffs know the only devices to
 4   which NSO sent messages were those under NSO’s own control. Indeed, Plaintiffs effectively
 5   concede NSO                                                                                 (MSJ 20.)
 6   Plaintiffs argue that fact “is legally irrelevant” because NSO                            , but all that
 7   shows (if anything) is that NSO                                                          . Similarly,
 8   Plaintiffs’ argument that NSO
 9   (id.) in no way suggests that NSO ever operated the technology.
10            That likely explains why Plaintiffs furtively pivot to asserting “NSO caused target devices to
11   be accessed” by its government customers. (Id.) That is also false—NSO simply provides a tool,
12   which its government customers alone decide to use or not—but it would not support a CFAA claim
13   even if it were true. The CFAA provisions Plaintiffs invoke apply only when the defendant himself
14   “accesses a computer without authorization or exceeds authorized access.” § 1030(a)(2), (a)(4).
15   They do not apply when the defendant allegedly causes someone else to access a computer.13
16            B.     NSO did not access WhatsApp servers “without authorization.”
17            Plaintiffs also claim NSO unlawfully sent messages over WhatsApp servers, but the
18   evidence proves NSO’s use of those servers was not “without authorization.” § 1030(a)(2), (a)(4).
19            1. As explained in NSO’s motion, Plaintiffs cannot use a motion for summary judgment to
20   resurrect the “without authorization” claim this Court previously dismissed. (Dkt. 396-2 at 21.) A
21   “person uses a computer ‘without authorization’” only “when the person has not received permission
22   to use the computer for any purpose.” Brekka, 581 F.3d at 1135 (emphasis added). As this Court
23   correctly held, Plaintiffs cannot claim both that NSO agreed to WhatsApp’s TOS and that NSO
24   completely lacked authorization to use WhatsApp’s servers for any purpose. (Dkt. 111 at 37.)
25   Indeed, Plaintiffs assert NSO “had authorization to send messages … over WhatsApp’s servers.”
26   (MSJ 15-16.) That forecloses their “without authorization” claim. (Dkt. 111 at 37.)
27   13
       Koninklijke Philips N.V. v. Elec-Tech Int’l Co., 2015 WL 1289984, at *4-5 & n.2 (N.D. Cal. Mar.
28   20, 2015); Blades of Green, Inc. v. Go Green Lawn & Pest, LLC, 2023 WL 5278654, at *5 (D. Md.
     Aug. 16, 2023); Dresser-Rand Co. v. Jones, 957 F. Supp. 2d 610, 615 (E.D. Pa. 2013).
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 1          2.   Despite conceding NSO was authorized to send WhatsApp messages, Plaintiffs claim
 2   NSO                                 . They argue NSO’s authorization was
 3

 4                              . (MSJ 15-17.) That theory is legally and factually baseless.
 5          a. There is no legal basis for Plaintiffs’ theory of “limited” authorization. Under CFAA, a
 6   person accesses a computer “without authorization” when they access the computer “without any
 7   permission at all.” Brekka, 581 F.3d at 1133 (9th Cir. 2009) (emphasis added). As a result,
 8   someone can violate CFAA’s “without authorization” prong only if they have “no rights, limited
 9   or otherwise” to access the computer. Id. (emphasis added). If they have even “limited” rights to
10   access the computer, their access legally cannot be “without authorization” even if they “violate[]
11   those limitations.” Id. In other words, “access without authorization must be an all-or-nothing
12   proposition.” United States v. Thomas, 877 F.3d 591, 596 (5th Cir. 2017). For purposes of CFAA’s
13   “access” provisions, “degrees of authorization” simply do not exist. Id.
14          That rule dooms Plaintiffs’ theory. Plaintiffs claim NSO had at least some authorization to
15   send messages over WhatsApp servers. (MSJ 15-16.) Even if NSO’s authorization had been
16                                      —and it was not—that still would not mean NSO had “no rights,
17   limited or otherwise,” to use WhatsApp servers. Brekka, 581 F.3d at 1133. For NSO’s access to
18   be “without authorization,” it must have been prohibited from sending any WhatsApp messages
19   through any means,                                    . And even under Plaintiffs’ argument, NSO
20   always had the right to send messages                             . That right, however “limited,”
21   means NSO’s access to WhatsApp servers could not be “without authorization.” Id.
22          NSO’s conceded authorization to access WhatsApp servers
23   distinguishes Nosal II, the only case Plaintiffs cite for their theory. (MSJ 17.) In Nosal II, the
24   defendant’s “computer access was categorically revoked” by his former employer. United States
25   v. Nosal, 844 F.3d 1024, 1038 (9th Cir. 2016) (emphasis added). The defendant thus had “no
26   authorization to access [the employer’s] computer system” at all, through any means. Id. at 1036.
27   So, in the passage Plaintiffs pluck from context, the Ninth Circuit enforced the employer’s
28   “authority to control access to its computers and confidential information by” completely excluding

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 1   “former employees whose access had been categorically revoked.” Id. at 1035 (emphasis added).
 2   But the court made clear that, when a person’s access has been limited but not “categorically
 3   revoked,” he cannot be sued for “violating use restrictions” on his access. Id. at 1038.
 4          Unlike in Nosal II, any requirement that NSO
 5                    , if it existed, would not “categorically” prohibit NSO from using WhatsApp
 6   servers. Id. It would be a mere “use restriction,” id., that
 7                             . Even if NSO                                                          , it still
 8   did not access WhatsApp servers “without authorization.” Brekka, 581 F.3d at 1133.
 9          b. Plaintiffs’ theory is also factually incorrect. For all their talk about a requirement to
10                                                             , Plaintiffs never identify the source of that
11   requirement. They simply say it exists because WhatsApp
12                                             . (MSJ 15). But those dots do not connect. That WhatsApp
13

14                                        . The existence of Google’s “official” web browser, Chrome,
15   does not mean, for example, that Microsoft Edge users are not authorized to run Google searches.
16          Indeed, Plaintiffs concede Pegasus accessed WhatsApp servers
17                                                     . (MSJ 17.) They accuse NSO of
18

19         (id.), but that is false and irrelevant. As the witness Plaintiffs cite clearly testified,
20

21           (Gazneli Decl. ¶ 5; see Akro. Exh. E at 185:16-188:11.) Even if NSO
22                                               , Plaintiffs still do not identify any prohibition on doing
23   so. The NSO document they cite does not discuss
24                      . (Block Exh. 24.) It discusses only
25

26                                                                    . (Id. at -8958-8962.) But WhatsApp
27                                                . (McGraw Exh. A ¶¶ 130, 136-38; Exh. B ¶¶ 27-29.)
28          c. Plaintiffs also claim NSO acted “without authorization” because it

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 1                                                                    . (MSJ 16.) But here too, Plaintiffs
 2   cannot explain why                              constitutes accessing WhatsApp servers “without
 3   authorization.” Even if WhatsApp’s client or servers
 4         —that would be a purpose-based “use restriction,” not a complete technological bar on
 5   access. Nosal II, 844 F.3d at 1038. Under Plaintiffs’ theory, NSO still had the authority
 6                                  , which means NSO did not lack all “rights, limited or otherwise,” to
 7   use WhatsApp servers. Brekka, 581 F.3d at 1133.
 8          Moreover, Plaintiffs identify no prohibition on the messages Pegasus sent. Each WhatsApp
 9   message is                                                                                 —think of
10   an order form at a deli, with fields allowing a customer to choose between ham or turkey and
11   mayonnaise or mustard. (McGraw Exh. A ¶¶ 54, 77.) Pegasus’s
12                                                 (id.; Akro. Exh. E at 299:21-300:4), which was
13

14   (Akro. Exh. A at 139:51-140:2). Put differently,
15                                                                                                    (Id.;
16   McGraw Exh. A ¶ 138.)
17          Even if that
18                         , that does not mean WhatsApp servers                                      . To
19   the contrary, Plaintiffs admit WhatsApp servers                                                        .
20   (Akro. Exh. A at 141:22-143:22; Exh. C at 161:3-169:24.) Plaintiffs’ corporate designee even
21   testified that WhatsApp
22                                                                                                  (Akro.
23   Exh. B at 148:12-149:20, 308:19-309:1; Exh. M at 4; McGraw Exh. B ¶ 28.) Similarly, Plaintiffs
24   complain that Pegasus
25                    (Akro. Exh. E at 298:15-17), and WhatsApp servers
26                                                                                (Akro. Exh. A at 185:3-
27   188:25; McGraw Exh. B ¶ 31). WhatsApp servers thus
28                           . (McGraw Exh. A ¶¶ 130, 136-38; Exh. B ¶¶ 27-29; Gazneli Decl. ¶ 9.)

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 1          Neither did the WhatsApp client. The testimony Plaintiffs cite reflects only that
 2                                                                 . (MSJ 16.) As explained, however,
 3   that WhatsApp
 4                                              . Indeed, Pegasus
 5                                                    those messages. (Gazneli Decl. ¶ 9.)
 6          At bottom, Plaintiffs’ claim is simply that they did not want WhatsApp users to
 7                                                                                                . They
 8   give the game away when they say they “assume[d] that the messages being sent are a part of the
 9   WhatsApp network and that they’re official clients.” (MSJ 16.) CFAA does not protect a computer
10   owner’s preferences or assumptions, and “us[ing] [a] computer contrary to the [owner’s] interests”
11   is not illegal. Brekka, 581 F.3d at 1133. Whatever WhatsApp wanted its users to do, its
12                                                         Abu v. Dickson, 107 F.4th 508, 515 (6th Cir.
13   2024). That means WhatsApp’s “system authorize[ed] the access.” Id.
14          3. Plaintiffs double down on their baseless theory of “limited” authorization by arguing
15   they “revoked” NSO’s authorization (1) in 2018 by
16                                                          , and (2) in 2019 by filing this lawsuit. (MSJ
17   17-19.) As Plaintiffs characterize WhatsApp’s 2018 updates,
18                             . Plaintiffs do not claim that “categorically revoked” NSO’s access to
19   WhatsApp servers for all purposes, as is obvious from the fact that NSO
20                  Nosal II, 844 F.3d at 1038. The same is true of this lawsuit, which challenges one
21   way NSO allegedly used WhatsApp servers, not NSO’s right to use those servers to send ordinary
22   WhatsApp messages. That distinguishes Facebook, Inc. v. Power Ventures, Inc., 844 F.3d 1058
23   (9th Cir. 2016), where Facebook “explicitly revoked authorization for any access” by sending a
24   cease-and-desist letter and blocking the defendant’s IP address, which removed the defendant’s
25   “permission to access Facebook’s computers at all.” Id. at 1067-69 (second emphasis added). This
26   case involves no such categorical revocation of access to WhatsApp servers.
27          At a minimum, any revocation was not sufficiently “explicit[],” id. at 1068,
28   “[u]nequivocal,” or “particularized,” Nosal II, 844 F.3d at 1028, 1036. WhatsApp’s 2018 updates

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 1   or alteration of information,” not merely the unapproved use of a computer. Nosal I, 676 F.3d at 862.
 2   Under CFAA, “exceeds authorized access” means “to access a computer with authorization and to
 3   use such access to obtain or alter information in the computer that the accesser is not entitled so to
 4   obtain or alter.” § 1030(e)(6). Plaintiffs do not argue NSO “obtain[ed] or alter[ed]” information
 5   from WhatsApp servers it was “not entitled” to access. Id. To the contrary, Plaintiffs admit NSO did
 6   not
 7           (Akro. Exh. B at 249:7-250:10; Exh. C at 183:7-184:7, 250:22-251:24; Exh. N at 4.)
 8            Elsewhere, Plaintiffs claim NSO received
 9                                                                     (MSJ 20-21), but they do not argue
10   NSO                                            § 1030(e)(6). That is because
11                               . Whenever a WhatsApp user
12

13           . (Gazneli Decl. ¶ 11.) That is a
14                                                                                           . (Id.) (As an
15   easy proof, try using WhatsApp to call a landline.) When Pegasus initiated a WhatsApp call,
16   therefore, it
17             (Id.; Akro. Exh. E at 294:10-15, 296:15-19; McGraw Exh. A ¶ 75.)
18            Plaintiffs also claim NSO received
19             (MSJ 21), but that is false because NSO never operated Pegasus. More fundamentally,
20   that                                                     , and § 1030(e)(6) defines “exceeds authorized
21   access” to require a defendant to “obtain or alter information in the computer”—the same
22   computer—the defendant “access[ed].” § 1030(e)(6). 15 Plaintiffs thus cannot prove NSO exceeded
23   authorized access to a WhatsApp server without proving NSO “obtain[ed] or alter[ed] information”
24   on the server that it was “not entitled so to obtain or alter.” Id. Plaintiffs cannot make that showing.
25            2. Plaintiffs also ignore that CFAA’s “exceeds authorized access” prong applies only when
26
     15
27     Plaintiffs argue in support of their § 1030(a)(2)(C) claim that “Section 1030(a)(2)(C) prohibits
     … obtaining information ‘from any protected computer,’” whether or not it was the unlawfully
28   accessed computer. (MSJ 21.) While that may be true of § 1030(a)(2)(C), it is not true of
     § 1030(e)(6)’s separate definition of “exceeds authorized access.”
                                                       16
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 1   a defendant “access[es] a computer with permission but then … enter[s] an area of the computer to
 2   which that authorization does not extend.” Van Buren, 593 U.S. at 389-90 (cleaned up and
 3   emphasis added). As with the “without authorization” prong, “authorization” to enter a particular
 4   area of a computer is an all-or-nothing inquiry: “one either can or cannot access a computer system,
 5   and one either can or cannot access certain areas within the system.” Id. If “a user is permitted to
 6   be on a particular ‘area within the system’ for some purposes,” then “the user’s access to the [area]
 7   is ‘authorized’” for all purposes. Abu, 107 F.4th at 508 (emphasis added).
 8            For that reason, Plaintiffs’ assertion that NSO was authorized to send WhatsApp messages
 9                               is just as fatal to their “exceeds authorized access” claim as to their
10   “without authorization” claim. Plaintiffs admit NSO was at least authorized to access the “areas”
11   of WhatsApp servers a WhatsApp message passes through                                                 .
12   And there is no dispute that                                                                          .
13   Although Plaintiffs object to                                             , they do not dispute that
14

15                       . (Akro Exh. C 129:15-130:23; McGraw Exh. A ¶¶ 123-34, Exh. B ¶¶ 41, 93;
16   Gazneli Decl. ¶ 10.) Plaintiffs’ argument is only that NSO
17                     —yet another “purpose-based limit[] on access” that cannot support a CFAA
18   claim. Van Buren, 593 U.S. at 396. Therefore, even if Pegasus
19                                              (MSJ 19), NSO did not thereby access any “area of the
20   [server] to which [its] authorization d[id] not extend.” Van Buren, 593 U.S. at 390 (cleaned up).16
21            3. In all events, however, the undisputed evidence proves NSO did not circumvent
22   restrictions on access to WhatsApp servers. Plaintiffs invoke “WhatsApp’s Terms and policies”
23   (MSJ 19), but those are irrelevant because the “exceeds authorized access” prong applies only to
24   “technological access barriers,” not contractual “use restrictions.” Nosal I, 676 F.3d at 863; see
25   Chegg, Inc. v. Doe, 2023 WL 4315540, at *2 (N.D. Cal. July 3, 2023). And, as explained above,
26   Pegasus messages                                                                                      .
27   16
       Kiser v. Moyal, 2024 WL 4229936, at *9 (M.D. La. Sept. 18, 2024) (even if defendant “violated
28   the ‘understanding’ that [its] improper behavior could not continue, this does not mean that [it]
     exceeded [its] authorized access to the computer … under Van Buren”).
                                                      17
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 1                     (Akro. Exh. H ¶¶ 5-7; Exhs. I-J.) NSO investigates reports of misuse and suspends
 2   or terminates service to customers that misuse its technology. (Akro. Exh. D at 21:16-25, 26:23-
 3   31:17, 181:10-15; Exh. H ¶ 12.) Those facts show that NSO, far from agreeing with its government
 4   customers to violate the law, affirmatively prohibits and punishes any such unlawful conduct.
 5             2. Moreover, any use of Pegasus by a foreign government could not violate CFAA because
 6   CFAA does not apply to that purely extraterritorial conduct.18 Under the presumption against
 7   extraterritoriality, “[w]hen a statute gives no clear indication of an extraterritorial application, it has
 8   none.” Morrison v. Nat’l Australia Bank, 561 U.S. 247, 248 (2009). Even when a statute does
 9   “specifically address[] an issue of extraterritorial application,” the presumption still limits “the
10   extent of the statutory exception.” Microsoft Corp. v. AT&T Corp., 550 U.S. 437, 455-56 (2007).
11   This ensures courts do not apply statutes in ways that risk “unintended clashes between our laws
12   and those of other nations.” EEOC v. Aramco, 499 U.S. 244, 248 (1991).
13             CFAA applies extraterritorially in one limited respect: Its definition of “protected
14   computer” includes a “computer located outside the United States” if it affects “interstate or foreign
15   commerce or communication of the United States.”                 § 1030(e)(2)(B).    But that does not
16   unambiguously prohibit access to foreign computers by foreign actors, let alone by foreign
17   governments. The presumption against extraterritoriality thus compels reading CFAA to prohibit
18   only unauthorized access to a foreign computer by U.S. nationals or from within the United States.
19             That reading finds further support in the Charming Betsy canon, which creates a “judicial
20   presumption that ‘an act of Congress ought never to be construed to violate the law of nations if
21   any other possible construction remains.’” United States v. Ali, 718 F.3d 929, 935 (D.C. Cir. 2013);
22   see United States v. Vasquez-Velasco, 15 F.3d 833, 839 (9th Cir. 1994). Under international law,
23   there are “five general principles that permit extraterritorial criminal jurisdiction,” United States v.
24   Clark, 435 F.3d 1100, 1106 & n.8 (9th Cir. 2006), none of which empower the United States to
25   criminalize foreign governments’ access to foreign computers. See Restatement (Third) of Foreign
26   Relations Law § 402 & comments a-g; id. § 404.
27
     18
28        It is undisputed that Pegasus
                              (Akro. Exh. E at 316:3-7, 327:11-328:14; Exh. H ¶ 13.)
                                                         19
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 1            Any different conclusion would have absurd and outrageous consequences, effectively
 2   making it illegal for any foreign government to access the computer of a criminal within its own
 3   borders—even with a warrant in full compliance with local law. (That would, for example, make
 4   it a federal crime for an English police officer to search the phone of a foreign terrorist in London,
 5   with a warrant.) When CFAA exempts U.S. law-enforcement activities from liability, § 1030(f), it
 6   defies belief that Congress would have intended to criminalize all such activities by foreign
 7   governments.19 The Court should not interpret CFAA to create such an extreme “clash[] between
 8   our laws and those of other nations.” Aramco, 499 U.S. at 248.
 9            Such an interpretation would also raise serious constitutional questions under the Foreign
10   Commerce Clause and Due Process Clause. The Foreign Commerce Clause allows Congress “to
11   regulate Commerce with foreign Nations.” U.S. Const. art. I, § 8, cl. 3 (emphasis added). The “use
12   of the word ‘with’” is a “textual limitation” that “requires a nexus between the United States and a
13   foreign country.” United States v. Bollinger, 798 F.3d 201, 214 (4th Cir. 2015) (emphasis added).
14   A foreign government’s use of Pegasus to monitor a foreign resident’s device lacks the required
15   nexus with the United States. Prohibiting such purely foreign conduct would also likely violate the
16   Due Process Clause, which similarly prohibits extraterritorial application of federal criminal
17   statutes absent “a sufficient nexus between the defendant and the United States.” United States v.
18   Sidorenko, 102 F. Supp. 3d 1124, 1132-33 (N.D. Cal. 2015). To “avoid” those constitutional
19   “doubts,” Nadarajah v. Gonzales, 443 F.3d 1069, 1076 (9th Cir. 2006), this Court should interpret
20   CFAA to prohibit only unauthorized access to a foreign computer by U.S. nationals or from within
21   the United States. See United States v. Weingarten, 632 F.3d 60, 70-71 (2d Cir. 2011) (narrowly
22   interpreting statute to avoid Foreign Commerce Clause concerns).
23            3. The act of state doctrine independently bars any claim based on foreign governments’
24   use of Pegasus. As explained in NSO’s motion for summary judgment, such a claim would
25   improperly require this Court to “question the legality of the sovereign acts of foreign states.” IAM
26
     19
27      The fact that § 1030(f) specifically addresses only U.S. law-enforcement activity strongly
     suggests Congress did not intend CFAA to apply to foreign governments in the first place. Cf.
28   United States v. Toscanino, 500 F.2d 267, 279-80 (2d Cir. 1974) (holding lack of reference to
     foreign wiretaps in Wiretap Act was evidence it “has no application outside of the United States”).
                                                      20
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 1   v. OPEC, 649 F.2d 1354, 1359 (9th Cir. 1981); (Dkt. 396-2 at 19-20).
 2            E.     Plaintiffs cannot assert or prove a “password-trafficking” claim.
 3            Plaintiffs cannot pursue a claim under CFAA § 1030(a)(6) because they concede they did
 4   not plead that claim in their complaint or in any post-complaint filing. (MSJ 24 n.10.) Without
 5   having previously given NSO notice of their “password-trafficking” theory, Plaintiffs may not raise
 6   it for the first time on summary judgment. Patel v. City of Long Beach, 564 F. App’x 881, 882 (9th
 7   Cir. 2014); Navajo Nation v. U.S. Forest Serv., 535 F.3d 1058, 1080 (9th Cir. 2008), overruled on
 8   other grounds by Apache Stronghold v. United States, 101 F.4th 1036 (9th Cir. 2024). Plaintiffs
 9   argue otherwise based on Alvarez v. Hill, 518 F.3d 1152 (9th Cir. 2008), but Alvarez held only that
10   “[a] complaint need not identify the statutory or constitutional source of the claim raised in order
11   to survive a motion to dismiss.” Id. at 1158 (emphasis added). The Alvarez plaintiff “specifically
12   raised” his claim “in his post-complaint filings, thereby apprising [defendants of the claim] before
13   summary judgment.” Id. (emphasis added). Plaintiffs here did no such thing. See Gonzales v.
14   Koranda, 2024 WL 3861988, at *8 (E.D. Cal. Aug. 19, 2024) (distinguishing Alvarez).
15            Plaintiffs’ claim is meritless anyway. Section 1030(a)(6) prohibits “knowingly and with
16   intent to defraud traffic[king] … in any password or similar information.” CFAA does not define
17   “password,” so courts “must give the term its ordinary meaning.” Joffe v. Google, Inc., 746 F.3d
18   920, 927 (9th Cir. 2013). In CFAA’s “computing context,” Van Buren, 593 U.S. at 388, the
19   ordinary meaning of “password” is “a sequence of letters, numbers, symbols or other characters
20   used to gain access to a computer, computer system, network, file, program, or function,” Fed.
21   Crim. Jury Instr. 7th Cir. 1030[3] (2023 ed.) (citing dictionaries). No English speaker would say
22   Pegasus or its access vectors are “password[s] or similar information” under that definition.
23   Pegasus                                                                               . It is not a
24   sequence of characters. Nor is it “information”—much less information “similar” to a sequence of
25   characters. That distinguishes Pegasus from the “(API) information” and “URL” in the Rule
26   12(b)(6) cases Plaintiffs cite, both of which plausibly are sequences of characters. (MSJ 24.)20
27   20
       Moreover, the parties in Temurian v. Piccolo, 2019 WL 5963831, at *6 (S.D. Fla. Nov. 13, 2019),
28   “d[id] not dispute” that API information “constitutes ‘password or similar information.’” MetroPCS

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 1          Plaintiffs argue Pegasus is like a password because it lets government users “access” a
 2   computer (id.), but that does not make something similar to a password unless it is equivalent to “a
 3   sequence of letters, numbers, symbols or other characters.” Fed. Crim. Jury Instr. 7th Cir. 1030[3].
 4   A human hacker can gain access to a computer, but that doesn’t turn a person into a password or
 5   hiring a hacker into password trafficking. A keyboard and mouse can also be used to access a
 6   computer, but a keyboard or a mouse is not a password either. Indeed, it is hard to imagine any
 7   form of unauthorized access under § 1030(a)(2) and § 1030(a)(4) that would not qualify as
 8   “similar” to a “password” under Plaintiffs’ reading of § 1030(a)(6). But § 1030(a)(6) is a distinct
 9   provision with a distinct meaning and scope, and it does not cover Pegasus.
10          F.      There is a material dispute over NSO’s intent.
11          Plaintiffs also cannot prove as matter of law that NSO accessed any computer with the mens
12   rea CFAA requires. Section 1030(a)(2) requires proof that NSO “intentionally access[ed] a
13   computer without authorization or exceed[ed] authorized access.” That intent element requires not
14   merely the general intent to access a computer, but the specific intent “to act without authorization
15   or to exceed authorization.” Abu, 107 F.4th at 514, 516-17. And there is a material dispute over
16   whether NSO intended to act without authorization or to exceed authorization. NSO correctly
17   believed that Pegasus
18

19          . (Akro. Exh. H ¶¶ 5-12; Gazneli Decl. ¶ 9.) For the same reasons, there is a material dispute
20   whether NSO “knowingly” acted without authorization or exceeded authorization. § 1030(a)(4).
21          There is also a material dispute whether NSO acted with “intent to defraud” under
22   § 1030(a)(4) and § 1030(a)(6), which requires “an intent to deceive [and] cheat.” Model Crim. Jury
23   Instr. 9th Cir. 4.13; id. 15.26, 15.30. CFAA’s “intent to defraud” requirement is “the same as the
24   standard used for 18 U.S.C. § 1029 relating to credit card fraud.” S. Rep. No. 99-432, at 10 (1986).
25   And “intent to defraud” under § 1029 “requires an intent to deceive and cheat, which means … the
26   v. Rivera, 220 F. Supp. 3d 1326, 1331 (N.D. Ga. 2016), was an uncontested default judgment, and
27   the complaint alleged not that “unlocked mobile devices” were passwords (MSJ 24), but that the
     “confidential codes/passwords” stored on the devices were passwords. Complaint ¶ 103, MetroPCS,
28   No. 1:16-cv-00323, ECF No. 1; cf. Sprint Sols. Inc. v. Pac. Cellupage Inc., 2014 WL 12607836, at
     *11-12 (C.D. Cal. Apr. 28, 2014) (sale of unlocked phones not “trafficking in a password”).
                                                      22
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 1                                                     . (Akro. Exh. B at 249:7-250:10; Exh. C at 183:7-
 2   184:7, 250:22-251:24; Exh. N at 4.) Plaintiffs instead claim “loss” in the form of investigation and
 3   repair costs. (MSJ 25). But “[t]he term ‘loss’ likewise relates to costs caused by harm to computer
 4   data, programs, systems, or information services.”          Van Buren, 593 U.S. at 391-92 (citing
 5   § 1030(e)(11)). So “loss” is also “[l]imit[ed]” to “technological harms—such as the corruption of
 6   files.” Id. As a result, “costs of responding to an offense” qualify as “loss” only in “situations
 7   involving damage to or impairment of the protected computer.” Better Holdco, Inc. v. Beeline
 8   Loans, Inc., 2021 WL 3173736, at *3 (S.D.N.Y. July 26, 2021) (emphasis added).24
 9            Plaintiffs’ investigation and repair costs are not “loss” under that definition. Because
10   WhatsApp’s servers undisputedly suffered no damage or impairment, Plaintiffs’ investigation did
11   not involve “investigating or remedying damage to a computer.” Nexans Wires S.A. v. Sark-USA,
12   Inc., 319 F. Supp. 2d 468, 475 (S.D.N.Y. 2004) (emphasis added); Better Holdco, 2021 WL
13   3173736, at *4 (investigation is not “loss” absent “alleg[ation] that [plaintiff] lost service or access
14   to its data, or that its systems were otherwise harmed”).25 Nor were Plaintiffs “restoring” their system
15   “to its condition prior to the offense,” § 1030(e)(11), because
16                       . Instead, Plaintiffs                                                     . (Akro.
17   Exh. B at 200:25-201:10; McGraw Exh. A ¶ 102.) Because that vulnerability                      and was
18   not “caused by computer intrusions,” fixing it does not fall within CFAA’s “narrow conception of
19   loss.” Andrews v. Sirius XM Radio Inc., 932 F.3d 1253, 1262-63 (9th Cir. 2019).
20   IV.      Plaintiffs are not entitled to summary judgment on their CDAFA claim.
21            As explained in NSO’s motion, NSO is entitled to summary judgment on Plaintiffs’ CDAFA
22   claim because CDAFA does not apply to conduct outside of California. (Dkt. 396-2 at 24-25.)
23   Moreover, Plaintiffs cannot state a CDAFA claim based on any use of Pegasus to access WhatsApp
24

25   24
        CFAA’s examples of loss reflect the same limitation, referring to “damage assessments” and
     “restoring the data, program, system, or information.” § 1030(e)(11).
26   25
        Sylabs, Inc. v. Rose, 2024 WL 4312719, at *2-3 (N.D. Cal. Sept. 26, 2024); Lukasian House,
27   LLC v. Ample Int’l, Inc., 2012 WL 13009130, at *3 (C.D. Cal. Apr. 20, 2012); AtPac, Inc. v.
     Aptitude Sols., Inc., 730 F. Supp. 2d 1174, 1184-85 (E.D. Cal. 2010); El Omari v. Buchanan, 2021
28   WL 5889341, at *14 (S.D.N.Y. Dec. 10, 2021); CCC Info. Servs., Inc. v. Tractable, Inc., 2023 WL
     415541, at *3 (N.D. Ill. Jan. 25, 2023).
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 1   users’ devices because a CDAFA claim can only be brought by a computer’s “owner or lessee,”
 2   Cal. Penal Code § 502(e)(1), and Plaintiffs do not own or lease WhatsApp users’ devices. In all
 3   events, however, Plaintiffs do not argue they should receive summary judgment on their CDAFA
 4   claim if they do not receive it on their CFAA claims. (MSJ 25.) Plaintiffs are not entitled to
 5   summary judgment on their CFAA claims, so the same is true for their CDAFA claim.
 6   V.     There is a material dispute over whether Plaintiffs have unclean hands.
 7          Finally, Plaintiffs are not entitled to summary judgment because they do not seek judgment
 8   on NSO’s affirmative defenses, including unclean hands. “[U]nclean hands may provide a
 9   complete defense to an action in law,” Albert’s Organics, Inc. v. Holzman, 2020 WL 3892861, at
10   *5 (N.D. Cal. July 10, 2020) (Hamilton, J.) (cleaned up), when the plaintiff “dirtied [his hands] in
11   acquiring the right he now asserts,” Brewster v. City of L.A., 672 F. Supp. 3d 872, 1003 (C.D. Cal.
12   2023). Here, logs produced by Plaintiffs
13                                                                  , when Plaintiffs began investigating
14   Pegasus. (Akro. Exh. O at 25.) That appears to refer to Meta employee Michael Scott, whose
15

16   (Block Exh. 12 at 24.) In addition, Plaintiffs’ corporate designee Andrew Robinson testified
17                                                                           . (Akro. Exh. B at 375:9-
18   377:24.)   Neither Mr. Scott, Mr. Robinson, nor any other employee of Plaintiffs
19

20         . Accordingly, it appears that Plaintiffs, when gathering evidence for this lawsuit, violated
21   CFAA and CDAFA
22                      . That supports NSO’s unclean hands defense.
23                                              CONCLUSION
24          The Court should deny Plaintiffs’ motion.
25    Dated: October 11, 2024                           KING & SPALDING LLP
26                                                      By: /s/ Joseph N. Akrotirianakis
                                                        JOSEPH N. AKROTIRIANAKIS
27                                                      AARON S. CRAIG
28                                                      Attorneys for Defendants

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